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                         UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
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     LORENA GODINEZ,                           Case No. 2:17-cv-05072-FLA (RAOx)
13
                           Plaintiff,
14                                             JUDGMENT
                v.
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16   BMW OF NORTH AMERICA, LLC,
17                         Defendant.
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1           This action came for trial on November 9, 2021 in Courtroom 6B of the United
2    States District Court for the Central District of California, the Honorable Fernando L.
3    Aenlle-Rocha, United States District Judge, presiding. Plaintiff Lorena Godinez
4    (“Plaintiff”) was represented at trial by Scot D. Wilson and Gregory Richard
5    Mohrman. Defendant BMW of North America, LLC (“Defendant” or “BMW) was
6    represented at trial by Daniel R. Villegas and Andrew K. Stefatos.
7           A jury of eight (8) persons was regularly empaneled and sworn. Witnesses
8    were sworn and testified. After hearing the evidence and arguments of counsel, the
9    jury was duly instructed by the court and the cause was submitted to the jury with
10   directions to return a verdict. The jury deliberated and thereafter returned to the court
11   its verdict, Dkts. 212, 213, unanimously finding the following:
12          1.     Plaintiff Lorena Godinez bought a new 2010 BMW 328i SA distributed
13   by BMW of North America, LLC;
14          2.     BMW of North America, LLC gave Plaintiff a written warranty;
15          3.     The 2010 BMW 328i SA had defect(s) covered by the warranty that
16   substantially impaired the vehicle’s use, value, or safety to a reasonable buyer in
17   Plaintiff’s situation;
18          4.     BMW of North America, LLC or its authorized repair facility failed to
19   repair the 2010 BMW 328i SA to match the written warranty after a reasonable
20   number of opportunities to do so;
21          5.     BMW of North America, LLC failed to promptly replace or repurchase
22   the 2010 BMW 328i SA;
23          6.     Regarding damages, the purchase price of the vehicle itself was $6,000,
24   incidental and consequential damages totaled $8,400, and the value of use was
25   $377.80, resulting in total actual damages of $14,022.20.
26          7.     BMW of North America, LLC willfully failed to repurchase or replace
27   the new 2010 BMW 328i SA; and
28          8.     A civil penalty in the amount of $28,044.40 was imposed.

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1          NOW THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED as
2    follows:
3          1. Plaintiff Lorena Godinez shall recover from Defendant BMW of North
4               America, LLC, the amounts of: (1) $6,000 for the purchase price of the
5               vehicle, $8,400 in incidental and consequential damages, minus $377.80 for
6               the mileage offset/use of the vehicle, totaling $14,022.20 in actual damages;
7               and (2) $28,044.40 in civil penalties, for a total judgment of $42,066.60,

8               with interest thereon at the rate of ten percent per annum from the date of
                entry of this judgment until paid;
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           This court shall decide all issues involving attorney’s fees, costs, expenses, and
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     prejudgment interest by post-judgment motions and order that an amended judgment
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     be prepared for execution.
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     Dated: December 1, 2021
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                                                     FERNANDO L. AENLLE-ROCHA
16                                                   United States District Judge
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